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      In The United States Court of Federal Claims
                             Nos. 98-168C, 02-1632C & 03-2699C

                                    (Filed: January 9, 2009)
                                          __________
 NORTH STAR ALASKA HOUSING                      *
 CORPORATION,                                   *   Motion for attorney’s fees and litigation
                Plaintiff,                      *   expenses; “Bad faith” exception to the
                                                *   American Rule; 28 U.S.C. § 2412(b);
        v.                                      *   Centex construed; Agency’s prelitigation
                                                *   “bad faith” conduct in injecting bias into the
 THE UNITED STATES,                             *   contract claim process does not warrant the
                                                *   imposition of fees; Motion denied.
                       Defendant.               *

                                          __________

                                           ORDER
                                          __________

       Paul Wesley Killian, Akin, Gump, Strauss, Hauer & Feld, Washington, D.C., for plaintiff.

      Timothy Paul McIlmail, United States Department of Justice, Washington, D.C., with whom
was Assistant Attorney General Gregory G. Katsas, for defendant.

ALLEGRA, Judge:

       On March 7, 2007, this court held that the United States had breached its covenant of
good faith and fair dealing in administering an Army housing contract with North Star Alaska
Housing Corporation (North Star). North Star Alaska Hous. Corp. v. United States, 76 Fed. Cl.
158, 189-212 (2007). Relying on a wealth of evidence, this court found that defendant’s
representatives acted with animus in a fashion calculated to hinder plaintiff’s performance. Id.
Among the actions cited by the court was defendant’s abuse of the claim resolution process
required by the Contract Disputes Act. Id. at 208-12. Judgment in favor of plaintiff was entered
on April 15, 2008. Defendant did not prosecute an appeal.

       On June 18, 2008, plaintiff filed a motion for attorney’s fees and litigation expenses,
invoking 28 U.S.C. § 2412(b). Defendant filed its response in opposition to the motion on
August 4, 2008. Plaintiff filed its reply on August 21, 2008. Argument on the motion is deemed
unnecessary.
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                                                 I.

         Absent a statute or enforceable contract provision, fee shifting is generally prohibited,
with each party instead ordinarily bearing its own attorney’s fees. See Chambers v. NASCO, Inc.,
501 U.S. 32, 45 (1991); Alyeska Pipeline Serv. Co. v. Wilderness Society, 421 U.S. 240, 257
(1975). This so-called “American Rule” is founded on the belief that requiring an unsuccessful
litigant to pay the litigation expenses of the prevailing party would unduly deter parties from
seeking to “vindicate their rights” in a judicial forum. Fleischmann Distilling Corp. v. Maier
Brewing Co., 386 U.S. 714, 718 (1967); see also Arcambel v. Wiseman, 3 U.S. (3 Dall.) 306
(1796) (in which this rule originated). Over the years, however, courts have recognized limited
exceptions to this rule, among them that a court may use its inherent power to assess attorney’s
fees “when a party has ‘acted in bad faith, vexatiously, wantonly, or for oppressive reasons.’”
Chambers, 501 U.S. at 45-46 (quoting F.D. Rich Co. v. United States ex rel. Indus. Lumber Co.,
417 U.S. 116, 129 (1974)); see also Alyeska, 421 U.S. at 258-59. Section 2412(b) of Title 28, a
provision of the Equal Access to Justice Act (EAJA), extends this concept to the United States,
subjecting it to the award of attorney’s fees in civil cases “to the same extent that any other party
would be liable under the common law . . . for such an award.” See also H.R. Rep. No. 96-1418,
at 9 (1980) (section 2412(b) “reflects a strong movement by Congress toward placing the federal
government and civil litigants on completely equal footing”); Kerin v. U.S. Postal Serv., 218
F.3d 185, 190 (2d Cir. 2000).

         The “bad faith” exception to the American Rule serves the “dual purpose of vindicat[ing]
judicial authority without resort to the more drastic sanctions available for contempt of court and
mak[ing] the prevailing party whole for expenses caused by his opponent’s obstinacy.”
Chambers, 501 U.S. at 46 (quoting Hutto v. Finney, 437 U.S. 678, 689 n.14 (1978)); see
Chambers, 501 U.S. at 74 (Kennedy, J., dissenting) (bad faith exception to American Rule
“permits fee shifting as a sanction to the extent necessary to protect the judicial process”). Such
an award is punitive in nature and should be imposed only in exceptional cases and for
dominating reasons of justice. See Hall v. Cole, 412 U.S. 1, 5 (1973); Eureka Inv. Corp. v.
Chicago Title Ins. Co., 743 F.2d 932, 946 (D.C. Cir. 1984). Under this exception, it is
appropriate to assess attorney’s fees when the court finds that “fraud has been practiced upon it,
or that the very temple of justice has been defiled[.]” Univ. Oil Prods. Co. v. Root Ref. Co., 328
U.S. 575, 580 (1946). Such a sanction is also appropriate when a party, in bad faith, delays or
disrupts litigation or hampers the enforcement of a court order. Chambers, 501 U.S. at 46. The
“bad faith” exception thus applies “to a full range of litigation abuses,” id., and “depends not on
which party wins the lawsuit, but on how the parties conduct themselves during the litigation.”
Id. at 53; see also Hutto, 437 U.S. at 689 n.14.

        In keeping with these sentiments, the Federal Circuit recently concluded that “fee awards
cannot be assessed based on claims of bad faith primary conduct,” i.e., “conduct that forms the
basis for the substantive claim for relief.” Centex Corp. v. United States, 486 F.3d 1369, 1371
(Fed. Cir. 2007); see also Consumers Energy Co. v. United States, 2008 WL 5135913 at *5-6
(Fed. Cl. Nov. 26, 2008). The Federal Circuit noted that its view was shared by at least eight


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other circuit courts.1 Centex reasoned that “authorizing a court to shift fees based solely on bad
faith conduct that forms the basis for the substantive claim for relief would undermine the
American Rule by penalizing a party who raises good faith defenses to claims of liability for bad
faith conduct.” 486 F.3d at 1372; see also id. (expressing a desire to “protect a defendant’s right
to go to court and argue a non-frivolous defense to a claim, even if the claim arose from the
defendant’s bad faith conduct”). The court also categorically rejected arguments that the EAJA
was intended to “alter the common law fee-shifting rule,” emphasizing instead that, as under the
common law, “[f]ee-shifting is not permitted for bad faith conduct that precedes the accrual of
the claim in question.” Id. at 1375. Centex thus suggests that the bad faith exception ordinarily
applies only if some bad faith conduct occurs in the context of litigation.

                                                 II.

        Seemingly undaunted by the limitations inherent in this holding, plaintiff asseverates that
attorney’s fees are warranted here because defendant proceeded in bad faith in several critical
regards. First, it asserts that fees are recoverable here because defendant’s prior counsel, Mr.
Donald Kinner, exhibited bad faith in the conduct of this litigation by: (i) advising the Army to
extend its practice of reducing the reimbursements paid for replacing carpet damaged by
occupants to reflect the age of the carpeting – a practice the parties referred to as “depreciation;”
and (ii) triggering, or at least promoting, a criminal investigation of plaintiff’s conduct that


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          The Federal Circuit cited a variety of cases for this proposition, including the following:
Zapata Hermanos Sucesores, S.A. v. Hearthside Baking Co., Inc., 313 F.3d 385, 391 (7th Cir.
2002), cert. denied, 540 U.S. 1068 (2003) (holding that ‘‘behavior in the litigation itself is the
only lawful domain of the relevant concept of ‘inherent authority’’’); Towerridge, Inc. v. T.A.O.,
Inc., 111 F.3d 758, 765 (10th Cir. 1997) (‘‘[A]n award of attorneys’ fees may not be premised
solely on prelitigation conduct.’’); Lamb Eng’g & Constr. Co. v. Neb. Pub. Power Dist.,103 F.3d
1422, 1435 (8th Cir. 1997) (‘‘[A court] may not base an [attorney’s fees] award solely on the
conduct that led to the substantive claim.’’); Ass’n of Flight Attendants v. Horizon Air Indus.,
Inc., 976 F.2d 541, 550 (9th Cir. 1992) (‘‘[N]o federal appellate authority in or out of the Ninth
Circuit has clearly approved an order shifting attorney’s fees based solely upon a finding of bad
faith as an element of the cause of action presented in the underlying suit. We decline to do
so.’’); Sanchez v. Rowe, 870 F.2d 291, 295 (5th Cir. 1989) (‘‘We hold that the requisite bad faith .
. . may not be based on a party’s conduct forming the basis for [the] substantive claim.’’)
(emphasis omitted); Woods v. Barnett Bank of Fort Lauderdale, 765 F.2d 1004, 1014 (11th Cir.
1985) (‘‘Vexatious conduct inherent in the fraudulent acts that make up the 10b–5 cause of
action cannot be the basis for an attorney’s fee award’’); Shimman v. Int’l Union of Operating
Eng’rs, 744 F.2d 1226, 1233 (6th Cir. 1984), cert. denied, 469 U.S. 1215 (1985) (‘‘We therefore
hold that the bad faith exception to the American Rule does not allow an award of attorney fees
based only on bad faith in the conduct giving rise to the underlying claim.’’); Cordeco Dev.
Corp. v. Santiago Vasquez, 539 F.2d 256, 262–63 (1st Cir. 1976), cert. denied, 429 U.S. 978
(1976) (disapproving the position that the bad faith exception extends to bad faith in the events
giving rise to litigation).

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caused the court to stay this action for nearly a year (and which ultimately resulted in no
indictments). Second, plaintiff contends that fees should be imposed because the Army
corrupted the contract claim resolution process, inappropriately coercing the contracting officers
into denying various contract claims filed by plaintiff. For its part, however, defendant contends
that all the conduct identified by the plaintiff was “primary conduct” that formed the “basis for
the substantive claim for relief” here. It argues that, under Centex, such conduct provides no
basis for assessing attorney’s fees under the “bad faith” exception to the American Rule. And it
asserts that much of the conduct identified by plaintiff as the basis for its fee claim simply was
not characterized by the court as being in bad faith.

                                                A.

        The latter point bears emphasis at the outset. In fact, the court did not find – and plaintiff
did not prove – that Mr. Kinner engaged in any bad faith conduct regarding the Army’s decision
to extend its depreciation practice to other occupant-damaged items replaced by plaintiff. As this
court previously described, the Army’s initial decision to reduce the reimbursement associated
with replacing carpeting initially was supported by at least one decision of this court that had
allowed such depreciation. North Star, 76 Fed. Cl. at 201 (citing West Carthage Assocs. v.
United States, No. 00-622C (Fed. Cl. May 30, 2002)). Based, inter alia, upon the existence of
this precedent, the court found that the Army’s initial decision to adopt the depreciation practice
was not motivated by animus. North Star, 76 Fed. Cl. at 202. The court, however, went on to
find that –

       Over time, however, this practice took on new dimensions. Particularly as viewed
       through the prism of the many statements of animus in the record, it is clear the
       use of depreciation clearly became yet another weapon by which Mr. Peterson,
       Ms. Kiser and others could effectuate their animus toward North Star. And this
       certainly was true by the time that these officials, responding to a July 3, 2002,
       ruling by this court shedding considerable doubt on the legality of the depreciation
       practice, extended depreciation to counter tops, vinyl and other types of materials
       installed in the units.

North Star, 76 Fed. Cl. at 202. This findings thus hinged on statements reflecting animus made
by Mr. Peterson, Ms. Kiser and other Army officials. Id. But, the record contained no such
statements made by Mr. Kinner. Indeed, it is conceivable, if not likely, that he urged the
extension of the depreciation practice merely in an effort to make the Army’s practices with
respect to carpet and other items legally consistent. That seemingly is the sort of tactical decision
– in itself reasonable – that Centex intended to protect. At all events, absent any specific finding
that Mr. Kinner acted in bad faith regarding the depreciation issue, there is no basis upon which
to impose attorney’s fees here predicated upon his participation in the extension decision.

        Nor did the court determine that Mr. Kinner acted in bad faith in seeking a criminal
investigation of plaintiff’s conduct. While the circumstances surrounding the genesis of that


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investigation are admittedly bothersome, it remains that the court did not find – and plaintiff
most certainly has not shown – that the investigation itself, any actions taken by defendant’s prior
counsel (or other Justice Department officials) in pursuit thereof, or any resulting delay, were the
result of bad faith. North Star, 76 Fed. Cl. at 211; see also United States v. Ford, 737 F.2d 1506,
1510 (9th Cir. 1984) (fee movant bears the burden of establishing an opponent’s bad faith); James
10 James Wm. Moore, Moore’s Federal Practice ¶ 54.171[2][c] (3d ed. 2008) (citing additional
cases). As such, plaintiff second allegation also lacks the factual predicates necessary to bring it
within the bad faith exception to the American Rule.

                                              B.

        A closer call is presented by plaintiff’s final banner claim – that it is entitled to attorney’s
fees because defendant corrupted the administrative claim process. This court found that bad
faith permeated the Army’s conduct in this regard. North Star, 76 Fed. Cl. at 208-12. Moreover,
the Federal Circuit, in Centex, left open the question whether “the judicial process is abused by
defendant’s bad faith response to a claim for relief after the claim accrues but before the judicial
process is formally invoked.” 486 F.3d at 1372 n.1. This response, of course, begs further
inquiries regarding the proper contours of the sanctioning authority represented by the “bad faith”
exception.

        The judicial thinking on that subject can be arrayed over a spectrum. On one end of that
spectrum are those circuits that liberally construe the sanctioning authority to reach virtually any
form of “bad faith” conduct, freely including that which predates the litigation. Plaintiff cites
two cases that lie on this end of the spectrum – Maritime Management, Inc. v. United States, 242
F.3d 1326 (11th Cir. 2001) and Brown v. Sullivan, 916 F.2d 492 (9th Cir. 1990). In Maritime
Management, the Eleventh Circuit affirmed a district court finding that the United States had
acted in bad faith by delivering an incomplete administrative record to the General Accounting
Office in a bid protest. Maritime Mgmt., 242 F.3d at 1333-34. And in Brown, the Ninth Circuit
upheld sanctions based upon a Department of Health and Human Services program that
systematically reviewed the decisions of administrative law judges in terms of the ratio of
benefits allowed to benefits denied – a program that the district court had found was adopted in
“bad faith.” Brown, 916 F.2d at 496-97. Both cases employed the broad view of the bad faith
exception – the one that permits fee shifting even where the bad faith was solely an aspect of the
conduct giving rise to the lawsuit. See Maritime Mgmt., 242 F.3d at 1333; Brown, 916 F.2d at
496. Not surprisingly, decisions at this end of the spectrum have no problem in concluding that
the “bad faith” denial of a claim is sanctionable. Take, for example, American Hosp. Ass’n v.
Sullivan, 938 F.2d 216 (D.C. Cir. 1991), in which the D.C. Circuit held that the bad faith
exception may be invoked where “a party, confronted with a clear statutory or judicially-
imposed duty towards another, is so recalcitrant in performing that duty that the injured party is
forced to undertake otherwise unnecessary litigation to vindicate plain legal rights.” Id. at 220
(citation omitted); see also S.E.C. v. Zahareas, 374 F.3d 624, 627 (8th Cir. 2004); Cobell v.
Norton, 319 F. Supp. 2d 36, 43-44 (D.D.C. 2004).



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         At the other end of the spectrum are decisions that, in more narrowly construing the
sanctioning authority, conclude that fee shifting can never be based upon “bad faith” conduct that
solely predates the litigation. See Zapata, 313 F.3d at 391 (this power is “is to be exercised
sparingly, to punish misconduct . . . occurring in the litigation itself, not in the events giving rise
to the litigation”); Ass’n of Flight Attendants, 976 F.2d at 549. These cases are particularly
sensitive to the limitations associated with a court’s use of inherent power, drawing support, in
this regard, from the various opinions in Chambers. They often cite, see, e.g., Towerridge, 111
F.3d at 766, the majority’s statement in Chambers that (“[t]he imposition of sanctions under the
bad-faith exception depends . . . on how the parties conduct themselves during the litigation.”
501 U.S. at 46. They also rely, see, e.g., Ass’n of Flight Attendants, 976 F.2d at 549, on Justice
Kennedy’s dissent, in which he more pointedly stated –

       When a federal court, through invocation of its inherent powers, sanctions a party
       for bad-faith prelitigation conduct, it goes well beyond the exception to the
       American Rule and violates the Rule’s careful balance between open access to the
       federal court system and penalties for the willful abuse of it.

Chambers, 501 U.S. at 74 (Kennedy, J. dissenting); see also id. at 60 (Scalia, J., dissenting).2
Tending toward this end of the spectrum are also decisions that, owing to a general hesitancy to
sanction prelitigation conduct, refuse to assess fees based upon the underlying conduct that gave
rise to the substantive claims in the case, but admit that there might be extreme circumstances in
which conduct predating the litigation so impacts the integrity of the subsequent judicial
proceedings as to give rise to fee-shifting. Compare F.D.I.C. v. Maxxam, Inc., 523 F.3d 566 (5th
Cir. 2008) with Sanchez v. Rowe, 870 F.2d 291, 295 (5th Cir. 1989); see also 10 Moore’s Federal
Practice at ¶ 54.171[2][c][ii] (advocating this more limited view). The varying results in the
latter cases often hinge not so much upon differing views of the law, as upon factual nuances and
deference to district court findings regarding the impact of prior “bad faith” conduct on a given
court proceeding.

       Several reasons convince the court that the more restrictive view of the “bad faith”
exception ought to apply here. First, this view is more in accord with the rationale expressed in
Centex. After all, the Federal Circuit refused to follow American Hospital and clearly aligned


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           The majority opinion in Chambers declined to reach the question whether the “bad
faith” exception applied to prelitigation conduct, as it viewed the district court’s sanction there as
applying only to post-litigation conduct. 501 U.S. at 54-55 & n.16. The dissenters disagreed
with this point, prompting them to define more directly the scope of the sanctioning authority.
Id. at 74 (Kennedy, J., dissenting). It should be noted that the statements in Chambers are not
inconsistent with Vaughan v. Atkinson, 369 U.S. 527 (1962). To be sure, the Supreme Court
allowed an attorney’s fee award there because the defendants had callously refused to pay
maintenance and cure. Id. at 530-31. But, as the Federal Circuit noted in Centex, 486 F.3d at
1373, that award was based upon long-standing admiralty principles, which envisioned the
recovery of attorney’s fees in the case as an aspect of damages.

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itself with those circuits that have held that an award of attorney’s fees may not be premised on
prelitigation conduct unless that conduct somehow directly impacts the judicial process. Centex,
486 F.3d at 1371-73. Second, this narrower view recognizes not only that the imposition of “bad
faith” sanctions ought to be rare, but that that is the case because it involves the exercise of the
court’s inherent authority. That authority is highly limited and exists only to the extent necessary
to ensure the proper functioning of the court, that is, to address actions that affect the exercise of
judicial authority, relate to the behavior of the parties and attorneys in the litigation before the
court, or otherwise “degrade the judicial system.” Samsung Elecs. Co., Ltd. v. Rambus, Inc., 523
F.3d 1374, 1381 (Fed. Cir. 2008), cert. denied, 129 S.Ct. 279 (2008).3 Giving effect to these
limitations seemingly requires the court to forego punishing prelitigation conduct that does not
significantly impact the integrity of the proceedings before it. Finally, it should not be
overlooked that an approach that predicates fee liability based solely on how an agency handles
an administrative claim threatens to expose the government to greater fee liability than its private
counterparts. The latter, of course, generally do not employ formal claim processes. And even
where such processes exist, usually through contracts, courts have been hesitant to impose fees
based solely on the bad faith administration of those provisions. See Lamb, 103 F.3d at 1436-37
(relying on Chambers in holding that the bad faith administration of a contract “does not provide
a basis upon which the court may use its inherent power to award attorney fees”). As such,
readily imposing liability on the government in such circumstances likely violates that part of
section 2412(b) which instructs that “the United States shall be liable for [attorney’s fees] to the
same extent that any other party would be liable under the common law.”

        Under this narrower view of the “bad faith” exception, the Army’s “bad faith” conduct as
to the claims process here does not support the imposition of attorney’s fees. For one thing, even
though that process plainly was conducted in bad faith, many, if not all, of plaintiff’s claims
would have been denied – and, in some instances, should have been denied – even in a perfectly
fair process. This court said as much in its prior opinion, in which it rejected much of the relief
originally requested by plaintiff in its CDA claims, including plaintiff’s claim that it was entitled
to damages for the loss of its business value, by far the most dollar-intensive of its claims. See
North Star, 76 Fed. Cl. at 213-17. And there is no assertion (or proof) that defendant acted in
“bad faith” in defending against the claims that this court sustained – again suggesting that
virtually all the claims here would have been denied even in a “good faith” process. As such,
unlike cases like American Hospital, it is hardly true here that, but for the bad faith, plaintiff
could have avoided this action and the significant expenditure of judicial resources it entailed. In
other words, this is not a case in which the identified conduct directly impacted the integrity of
the judicial process. Moreover, while the court does not believe, as defendant intimates, that
Centex requires that anything pled as part of a complaint becomes, by virtue of that fact, part and
parcel of a substantive primary claim, here, the fact remains that the Army’s perversion of the


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           See also Amsted Indus. Inc. v. Buckeye Steel Castings Co., 23 F.3d 374, 378 (Fed. Cir.
1994) (“Without a finding of fraud or bad faith whereby the ‘very temple of justice has been
defiled,’ the court enjoys no discretion to employ inherent powers to impose sanctions.”);
Zapata, 313 F.3d at 391.

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claims process was an integral part of plaintiff’s argument that defendant had breached its
covenant of good faith and fair dealing and, concomitantly, of the court’s findings in that regard.
As such, the “bad faith” conduct in this regard appears to fall squarely within the category which
Centex holds cannot form the basis for a “bad faith” fees claim.

         Plaintiff makes a variety of other lesser allegations in support of its fee request – for
example, that bad faith warranting fee shifting was exhibited when, at trial, certain witnesses
testified in contradiction to hard evidence, or when the government allegedly used the criminal
investigation to supplement inappropriately its discovery. But, these allegation are just that –
allegations – unsupported by any evidence evincing bad faith. Other claims made by plaintiff –
for example, that certain Army officials falsified project records – again represent primary
conduct supporting substantive bad faith contentions in the lawsuit at issue or in one of the
subsequent lawsuits that plaintiff filed with respect to this same contract. As such, like plaintiff’s
principal allegations, none of these other assertions supports an award of attorney’s fees.

                                                 III.

         Based on the foregoing, the court DENIES plaintiff’s motion for attorney’s fees and
litigation expenses.

       IT IS SO ORDERED.


                                                        s/ Francis M. Allegra
                                                        Francis M. Allegra
                                                        Judge




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